     Case 2:13-cr-06070-SAB             ECF No. 36       filed 01/13/14   PageID.79      Page 1 of 2



   MICHAEL C. ORMSBY
 1 United States Attorney
   Eastern District of Washington
 2 ALEXANDER C. EKSTROM
   Assistant United States Attorney
 3 402 E. Yakima Avenue, Suite 210
   Yakima, Washington 98901
 4 (509) 454-4425

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 6
                               IN THE UNITED STATES DISTRICT COURT
 7                               EASTERN DISTRICT OF WASHINGTON

 8
     UNITED STATES OF AMERICA,
 9
                           Plaintiff,                      NO: CR-13-6070-WFN
10

11          vs.                                            GOVERNMENT’S RESPONSE TO
                                                           DEFENDANT’S MOTION TO
12                                                         CONTINUE AND EXTEND
     KENNETH RICHARD ROWELL,                               DEADLINES
13
                           Defendant.
14

15
            The Plaintiff, United States of America, by and through its Attorney, Michael C. Ormsby,
16
     United States Attorney for the Eastern District of Washington, and Alexander C. Ekstrom, Assistant
17
     United States Attorney for said district, responds as follows to defendant=s motion for continuance
18
     (ECF 34): The Government has no objection.
19
            DATED this 13th day of January, 2014.
20

21

22
                                                  MICHAEL C. ORMSBY
23                                                United States Attorney
24                                                s/ Alexander C. Ekstrom
                                                  ALEXANDER C. EKSTROM
25                                                Assistant United States Attorney
26

27
   Government’s Response to
28 Motion to Continue
                                                     1
     Case 2:13-cr-06070-SAB          ECF No. 36          filed 01/13/14    PageID.80       Page 2 of 2




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 2
            I hereby certify that on January 13, 2014, I electronically filed the foregoing with the Clerk
 3
     of the Court using the CM/ECF System which will send notification of such filing to the following:
 4
     Rick Hoffman
 5

 6

 7                                                s/ Alexander C. Ekstrom
                                                  Alexander C. Ekstrom
 8                                                Assistant United States Attorney
                                                  United States Attorney’s Office
 9                                                402 E. Yakima Ave., Suite 210
                                                  Yakima, WA 98901
10                                                (509) 454-4425

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   Government’s Response to
28 Motion to Continue
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